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 8                                     UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11       UNITED STATES OF AMERICA,                        Case No. 1:15-CR-00272-DAD-BAM
12                        Plaintiff,
13            v.                                          ORDER EXTENDING TIME TO
                                                          COMPLETE EXAMINATION AND
14       EDMOND HORMOZI,                                  SERVICE OF ORDER
15                        Defendant.
16

17           On March12, 2019, this Court ordered defendant to be committed for psychiatric or

18   psychological examination pursuant to 18 U.S.C. §4241(b). Defendant arrived at the

19   Metropolitan Detention Center in Los Angeles on April 5, 2019. The Court has received a

20   request from the Acting Warden at the Metropolitan Detention Center for a fifteen-day extension

21   of time to complete the ordered testing and examination.

22           For good cause shown, the Court GRANTS the extension of time. The Court GRANTS

23   the requested extension to May 20, 2019 for the completion of the testing and examination

24   necessary to develop a history, diagnosis, and opinion.1 The report of the evaluation shall be

25   submitted to the court by June 10, 2019.

26   /////

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     1
       Based upon the representations of the Acting Warden, the Court finds that commitment for the evaluation
28   commenced upon defendant’s arrival the Metropolitan Correctional Center on April 5, 2019.
                                                              1
     Case 1:15-cr-00272-DAD-BAM Document 158 Filed 04/26/19 Page 2 of 2


 1          The Clerk is directed to serve a copy of this order on Dr. Lisa Matthews, Chief

 2   Psychologist at both an email address of lhope@bop.gov and mailing address of MDC Los

 3   Angeles, 535 N. Alameda Street, Los Angeles Ca 90012, as well as on counsel for the parties.

 4   IT IS SO ORDERED.
 5
        Dated:    April 26, 2019
 6                                                    UNITED STATES DISTRICT JUDGE

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